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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION

 STEPHEN ERIC COOLEY, Individually            *
 and as duly appointed Personal
 Representative of the Estate of              *
 SUEZETTE SANN COOLEY
                                              *
                       Plaintiff,
                                              *      Civil Action No.
 v.
                                              *
 EARLY TRUCKING COMPANY, ETC
 INDEPENDENT CONTRACTORS,                     *
 INC, and ARCH INSURANCE
 COMPANY                                      *

                       Defendants.            *

                                 COMPLAINT FOR DAMAGES

       COMES NOW THE PLAINTIFF above named and files this Complaint for Damages,

showing this Court as follows:

                 GENERAL ALLEGATIONS COMMON TO ALL COUNTS

        Nature of the Case, Parties, Jurisdiction, Venue, and Conditions Precedent

       1.       This is an action for damages and appropriate relief for the pre-death personal

injuries and wrongful death of Suezette Sann Cooley (“Mrs. Cooley”).

       2.       Plaintiff’s claims arise out of a commercial motor vehicle collision that occurred

on January 3, 2022, in unincorporated Lafayette County, Florida.

       3.       At that time and place, Alan Loren Guernsey negligently drove a commercial motor

vehicle and struck Mrs. Cooley’s vehicle in the side and caused her death.

       4.       Plaintiff Steven Cooley is a citizen of Florida, residing at 425 NW Longitude Road,

Mayo, Florida 32066.

       5.       Defendant Early Trucking Company (“Early Trucking”) is a domestic corporation
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organized under Georgia law and is a citizen and resident of Georgia. Defendant Early Trucking’s

principal place of business is 4483 Cherry Street N.E., Arlington, Calhoun County, Georgia, 39813

within this judicial district and division. Defendant Early Trucking may be served by delivering a

copy of the Complaint and Summons to its registered agent, Bryan Willis, at that same address.

        6.       Defendant Early Trucking is a “motor carrier” as defined in the Georgia Motor

Carrier Act of 2012, O.C.G.A. §§ 40-1-50 et seq., and is subject to the provisions of that Act and

regulations adopted pursuant to it.

        7.       Defendant Early Trucking is subject to the jurisdiction of this Court and venue of

this action against Defendant Early Trucking properly lies in this district pursuant to 28 U.S.C. §

1391(b)(1)).

        8.       Defendant ETC Independent Contractors (“ETC”) is a domestic corporation

organized under Georgia law and is a citizen and resident of this state. Defendant ETC’s principal

place of business is 4483 Cherry Street N.E., Arlington, Calhoun County, Georgia, 39813 within

this judicial district and division. Defendant ETC may be served by delivering a copy of the

Complaint and Summons to its registered agent, Bryan Willis, at that same address.

        9.       Defendant ETC is subject to the jurisdiction of this Court and venue of this action

against Defendant ETC properly lies in this district pursuant to 28 U.S.C. § 1391(b)(1).

        10.      Defendant Arch Insurance Company (“Arch”) is a foreign insurance company

organized under Missouri law and is a citizen and resident of that state. Defendant Arch’s principal

place of business is Harborside 3, 210 Hudson Street, Suite 300, Jersey City, New Jersey 07311.

        11.      Arch is authorized to do business in Georgia and this district and was doing

business in this state, district and division at all relevant times in this action.




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        12.     Arch may be served by serving process on its registered agent, Corporation Service

Company, at 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092.

        13.     At all times material to this action, Arch was the liability insurance carrier for

Defendant Early Trucking, having issued a commercial vehicle liability insurance policy or

policies pursuant to and in compliance with the Georgia Motor Carrier Act of 2012, O.C.G.A. §40-

1-112(c).

        14.     As the indemnity insurer for Early Trucking, Arch is subject to this direct action

pursuant to the Georgia Motor Carrier Act of 2012, O.C.G.A. § 40-1-112, and Arch is directly

liable to Plaintiff for Mrs. Cooley’s injuries, death, and damages proximately caused by the

sustained as a proximate result of the wrongful conduct of the other Defendants and their agents,

employees, statutory employees, and concerted actors.

        15.     Arch is subject to the jurisdiction of this Court. Arch is a proper party defendant,

and venue of this action against it properly lies in this district and division pursuant to O.C.G.A. §

33-4-1(4); the Georgia Motor Carrier Act of 2012, O.C.G.A. § 40-1-112(c); and 28 U.S.C. §

1391(b)(1) and (d).

        16.     Venue in this action against Arch properly lies in this judicial district and division

because it is a joint obligor along with at least one other defendant who is a citizen and resident of

this district and division.

        17.     The amount in controversy exceeds $75,000.00 exclusive of interest and costs.

        18.     Subject matter jurisdiction of this Court is based on complete diversity of

citizenship pursuant to 28 U.S.C. § 1332.

                                       Conditions Precedent

        19.     All conditions precedent to the bringing of this action and Plaintiff’s right to the




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relief sought herein have occurred, have been performed, or have been excused.

                                       Background Facts

       20.     On January 3, 2022, at approximately 4:00 PM EST, Mrs. Cooley was lawfully

operating her 2009 Nissan Altima on County Road 251 in unincorporated Lafayette County,

Florida.

       21.     At all relevant times, Defendant ETC was Defendant Early Trucking’s agent or

concerted actor acting in the course and scope and in furtherance of Defendant Early Trucking’s

business. Defendant Early Trucking is subject to imputed liability for injuries, death, and damages

proximately caused by Defendant ETC’s wrongful conduct, including Mrs. Cooley’s pre-death

injuries and wrongful death, under one or more theories of vicarious or imputed liability.

       22.     At all relevant times, Defendant Early Trucking was Defendant ETC’s agent or

concerted actor acting in the course and scope and in furtherance of Defendant ETC’s business.

Defendant ETC is subject to imputed liability for injuries, death, and damages, including Mrs.

Cooley’s pre-death injuries and wrongful death, proximately caused by Defendant Early

Trucking’s wrongful conduct, under one or more theories of vicarious or imputed liability.

       23.     At all relevant times, Chris Lyons and Chris Lyons d/b/a Lyons’ Trucking were

agents, employees, statutory employees, or concerted actors of Defendant Early Trucking,

Defendant ETC, or both of them, operating a 2000 Peterbilt Conventional tractor pulling a trailer

owned by Defendant Early Trucking in the course and scope and in furtherance of Defendant Early

Trucking’s and Defendant ETC’s business. Defendant Early Trucking, Defendant ETC, or both

of them are subject to imputed liability for injuries, death, and damages, including Mrs. Cooley’s

pre-death injuries and wrongful death, proximately caused by the wrongful conduct of Chris

Lyons’ and Chris Lyons d/b/a Lyons’ Trucking’s agents, employees, statutory employees, and




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concerted actors, including Guernsey, under one or more theories of vicarious or imputed liability..

       24.      At all relevant times, Guernsey was an agent, employee, statutory employee, or

concerted actor of Chris Lyons d/b/a Lyon’s Trucking, Defendant Early Trucking, Defendant ETC,

or some or all of them, operating a 2000 Peterbuilt Conventional tractor pulling a trailer owned by

Defendant Early Trucking in the course and scope and in furtherance of Defendant Early

Trucking’s and Defendant ETC’s business. Defendant Early Trucking, Defendant ETC, or both

of them are subject to imputed liability for injuries, death, and damages, including Mrs. Cooley’s

pre-death injuries and wrongful death, proximately caused by Guernsey’s wrongful conduct, under

one or more theories of vicarious or imputed liability.

       25.      Guernsey was also operating under Defendant Early Trucking’s DOT authority and

ID number.

       26.      At that time and place, Guernsey’s wrongful conduct proximately caused Mrs.

Cooley’s pre-death personal injuries and wrongful death in one or more of the following ways,

among others:

       (a)      Failing to obey the applicable Florida uniform traffic control laws in violation of

                42 C.F.R. § 392.2;

       (b)      Failing to obey traffic signals in violation of Fla. Stat. §§ 316.074, 316.123(2)(a)

                and 316.1925 (careless driving);

       (c)      Failing to use due care to maintain control over the speed and movements of the

                tractor-trailer commercial vehicle to avoid colliding with and injuring others

                lawfully using the road, including Mrs. Cooley;

       (d)      acting with conscious disregard for the health and safety of other individuals in

                violation of Fla. Stat. § 316.192 (reckless driving); and




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       (e)      Any and all acts or omissions that may be shown at trial.

       27.      Guernsey’s acts and omissions were negligent.

       28.      Guernsey’s acts and omissions were negligence per se.

       29.      Guernsey’s acts and omissions were wanton.

       30.      Guernsey’s acts and omissions were reckless.

       31.      Guernsey’s acts and omissions were done with conscious disregard for the health

and safety of other individuals.

       32.      Guernsey’s showed willful misconduct, malice, wantonness, oppression, or that

entire want of care which would raise the presumption of conscious indifference to consequences.

       33.      Defendant Early Trucking’s wrongful act and omissions proximately caused Mrs.

Cooley’s pre-death personal injuries and wrongful death in one or more of the following ways,

among others:

       (a)      Failing to observe and follow routine and common industry standards regarding the

                operation of the tractor-trailer at issue, and failing to require its agents, employees,

                statutory employees, and concerted action to observe and follow such standards;

       (b)      Failing to take timely and appropriate precautionary measures to prevent death and

                injuries to other motorists on public roadways, including Mrs. Cooley;

       (c)      Failing to timely implement procedures to prevent death and injuries to other

                motorists on public roadways, including Mrs. Cooley;

       (d)      Failing to observe and follow routine and common industry standards concerning

                hiring, training, supervising, and retaining its managers, agents, and employees,

                including but not limited to Guernsey;

       (e)      Entrusting its trailer to Lyons’ Trucking’s managers, agents, and employees,




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                including Alan Guernsey;

          (f)   Failing to promulgate and enforce adequate company policies, procedures, and

                rules for the protection of motorists on public roadways, including Mrs. Cooley;

          (g)   Failing to comply with pertinent Florida, Georgia, and Federal motor vehicle laws

                and regulations, Florida motor common carrier regulations, Georgia motor

                common carrier regulations, and all other applicable Federal and state motor carrier

                regulations;

          (h)   Failing to inspect, repair, and maintain its trailer properly and adequately so that its

                brakes functioned properly to control and maintain the speed and movements of the

                trailer safely and adequately;

          (i)   Operating its trailer with faulty brakes that did not function properly to enable the

                operator to control and maintain the speed and movements of the trailer safely and

                adequately;

          (j)   Any and all acts or omissions that may be shown at trial

          34.   Defendant Early Trucking’s conduct was negligent.

          35.   Defendant Early Trucking’s conduct was wanton.

          36.   Defendant Early Trucking’s conduct was reckless.

          37.   Defendant ETC’s wrongful acts and omissions proximately caused Mrs. Cooley’s

pre-death personal injuries and wrongful death in one or more of the following ways, among

others:

          (a)   Failing to screen Chris Lyons d/b/a/ Lyons’ Trucking properly and adequately

                before arranging the transportation relationship between Lyons Trucking and Early

                Trucking;




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       (b)     Failing to investigate Chris Lyons d/b/a Lyons’ Trucking safety record properly

               and adequately before arranging the transportation relationship between Lyons

               Trucking and Early Trucking;

       (c)     Failing to use ordinary care in selecting Chris Lyons d/b/a Lyons’ and brokering a

               transportation relationship with them to Defendant Early Trucking;

       (d)     Any and all acts or omissions that may be shown at trial.

       38.     Defendant ETC’s conduct was negligent.

       39.     Defendant ETC’s conduct was wanton.

       40.     Defendant ETC’s conduct was reckless.

       41.     Guernsey’s wrongful conduct proximately causing Mrs. Cooley’s pre-death

injuries and death is legally imputed to Defendant Early Trucking, Defendant ETC, or both of

them under one or more theories of vicarious liability subjecting one or both of them to legal

liability for Mrs. Cooley’s pre-death injuries, death and resulting damages.

       42.     Georgia law applies the choice of law rule known as lex loci delicti, which means

Florida’s substantive law of torts, and elements the measure of recoverable damages governs the

tort claims for wrongful death and pre-death personal injuries asserted in this case. However,

Georgia law applies to remedies in this case such as an award of reasonable litigation expenses

including attorney’s fees (O.C.G.A. §§ 9-11-68; 9-15-14, and 13-6-11), pre-judgment interest

(O.C.G.A. § 51-12-14), and privilege (Fed.R.Evid. 501). The Federal Rules of Civil Procedure

and Evidence govern to the procedural aspects of this case.

       43.     Georgia law applies the choice of law rule known as lex loci contractus, which

means the Georgia law of agency and concerted action govern the substantive issues of the legal

relationship of Defendant Early Trucking and Defendant ETC with themselves, and with Chris




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Lyons, Chris Lyons, d/b/a Chris Lyons’ Trucking, and Guernsey.

        44.     Plaintiff Stephen Cooley is the surviving spouse of Suzette Cooley and is a statutory

beneficiary under the Florida Wrongful Death Act, Fla. Stats. §§ 768.16 to 768.26, and he has

sustained damages, including but not limited to, loss of companionship, loss of support and

services, mental pain and anguish, and any other damages as proved at trial.

        45.     Sara Swords is the minor daughter of Suzette Cooley and is a statutory beneficiary

under the Florida Wrongful Death Act, Fla. Stats. §§ 768.16 to 768.26, and she has sustained

damages, including but not limited to, loss of parental companionship, instruction and guidance,

mental pain and anguish, and any other damages as proved at trial.

        46.     Alternatively, Plaintiff seeks damages for Mrs. Cooley’s pre-death injuries and

wrongful death under the Georgia Wrongful Death Act. O.C.G.A. §§ 9-2-41; 51-1-51-4-1 , et. seq.

and under O.C.G.A. § 9-2-41.

        47.     Defendant Early Trucking, Defendant ETC, or both of them, and their agents,

employees, statutory employees, and concerted actors have acted in bad faith concerning the

occurrence forming the basis of Plaintiff’s claims asserted herein, have been stubbornly litigious,

and have put the Plaintiff to unnecessary trouble and expense. Defendant Early Trucking,

Defendant ETC, or both of them are subject to liability to the Plaintiff for his reasonable expenses

of litigation, including attorney’s fees.

        48.     The actions of Defendant Early Trucking, Defendant ETC, or both of them, and

their agents, employees, statutory employees, and concerted actors showed willful misconduct,

malice, wantonness, oppression, or that entire want of care which would raise the presumption of

conscious indifference to consequences.

        49.     Punitive damages should be imposed on Defendant Early Trucking, Defendant




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ETC, or both of them to punish, penalize, or deter them from repeating such wrongful conduct.

                                   COUNT 1
                       WRONGFUL DEATH OF SUZETTE COOLEY

       50.     Paragraphs 1 through 49 are incorporated by reference.

       51.     Because of the foregoing, Defendant Early Trucking is subject to liability to

Plaintiff for damages for all harm proximately caused by the Guernsey’s wrongful acts or

omissions.

       52.     Because of the foregoing, Defendant ETC is subject to liability to Plaintiff for

damages for all harm proximately caused by the Guernsey’s wrongful acts or omissions.

       53.     Because of the foregoing, Defendant Early Trucking is subject to liability to

Plaintiff for damages for all harm proximately caused by the wrongful acts or omissions of Chris

Lyons, Chris Lyons, d/b/a Chris Lyons’ Trucking, or both of them.

       54.     Because of the foregoing, Defendant ETC is subject to liability to Plaintiff for

damages for all harm proximately caused by the wrongful acts or omissions of Chris Lyons, Chris

Lyons, d/b/a Chris Lyons’ Trucking, or both of them.

       55.     Because of the foregoing, Plaintiff is entitled to recover reasonable expenses of

litigation, including attorney’s fees, as an element of damages pursuant to O.C.G.A. § 13-6-11.

       56.     Because of the foregoing, punitive damages should be imposed against the

Defendants to punish, penalize, and deter them from repeating such wrongful conduct.

       WHEREFORE, Plaintiff demands:

       (a)     Trial by jury;

       (b)     Judgment against Defendants for such sums as the evidence shall show Plaintiff to
               be justly entitled to recover as compensatory recoverable by Steven Cooley and
               Sara Swords as wrongful death beneficiaries under the Florida Wrongful Death Act,
               Fla. Stats. §§ 768.16 to 768.26, including interest, reasonable expenses of litigation,
               including attorney’s fees and all costs;


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        (c)     Judgment against Defendants for punitive damages in an amount sufficient to
                punish, penalize, and deter them from repeating such wrongful conduct.

        (d)     Such other relief as the Court deems just and proper.

                                     COUNT 2
                        SUEZETTE SANN COOLEY ESTATE CLAIM

        57.     Paragraphs 1 through 49 are incorporated by reference.

        58.     As a result of the collision, Mrs. Cooley suffered serious personal injuries,

including pre-death physical and mental pain and emotional distress.

        59.     As a result of the collision, Mrs. Cooley’s Estate has incurred funeral and other

expenses.

        60.     Because of the foregoing, Plaintiff, as personal representative of Mrs. Cooley’s

Estate, is entitled to recover general and special compensatory damages for her pre-death personal

injuries.

        61.     Because of the foregoing, Plaintiff, as personal representative of Mrs. Cooley’s

Estate, is entitled to recover its reasonable expenses of litigation, including attorney’s fees, as an

element of damages pursuant to O.C.G.A. § 13-6-11.

        62.     Because of the foregoing, punitive damages should be imposed against the

Defendants to punish, penalize, and deter repetition of such wrongful conduct.

        WHEREFORE, Plaintiffs demand:

        (a)     Trial by jury;

        (b)     Judgment against Defendants for such sums as the evidence shall show Plaintiffs
                to be justly entitled to recover as compensatory damages and punitive damages,
                including interest, reasonable expenses of litigation, including attorney’s fees and
                all costs;

        (c)     Judgment against Defendants for punitive damages in an amount sufficient to
                punish, penalize, and deter them from repeating such wrongful conduct.

        (d)     Such other relief as the Court deems just and proper.


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      This 28th day of December 2023.

                                              Attorneys for Plaintiffs
                                              THE STONE LAW GROUP
                                               TRIAL LAWYERS, LLC
                                              By: /s/James W. Stone_
                                              William S. Stone
                                              Georgia State Bar No. 648636
                                              James W. Stone
                                              Georgia State Bar No. 328708
5229 Roswell Road NE
Atlanta, GA 30342
TEL 404-239-0305
FAX 404-445-8003
W. Stone email: billstone@stonelaw.com
J. Stone email:  james@stonelaw.com




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